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  EXHIBIT 2
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                                                         U.S. Department of Justice

                                                         Andrew E. Lelling
                                                         United States Attorney
                                                         District of Massachusetts
Main Reception: (617) 748-3100                           John Joseph Moakley United States Courthouse
                                                         1 Courthouse Way
                                                         Suite 9200
                                                         Boston, Massachusetts 02210




                                                         November 27, 2019

John Hueston, Esq.
Hueston Hennigan LLP
620 Newport Center Drive, Suite 1300
Newport Beach, CA 92660

          Re:       United States v. William McGlashan
                    No. 19-cr-10080-NMG

Dear Mr. Hueston:

       We write in response to your letter of November 15, 2019. This letter supplements the
government’s letters of September 16, 2019, September 24, 2019, October 1, 2019 and October
31, 2019.

        Your contention that we have not provided specific responses to your Rule 16 requests is
not true. Our responses to your requests are clear. Rule 16, however, does not require that we
answer civil-style interrogatories demanding that we itemize what we have produced, what we
have not produced, and what we do not possess, in 90 separate categories. We believe we have
satisfied our Rule 16 obligations. To the extent we come into possession of additional Rule 16
materials, we will produce those to you in a timely manner, as required.

       Likewise, we do not believe that Brady requires the government to “make a
representation” with respect to each of 40 separate categories “as to whether or not it possesses
such information.” To the contrary, it is the defendant’s burden, in making such requests, to
specify as to each request what evidence you hope to find, why you think it exists, and why such
evidence would be both favorable to the defendant and material. See United States v. Prochilo,
629 F.3d 264, 268 (1st Cir. 2011). You have not even attempted to meet this burden. 1


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         In your most recent letter, you suggest by way of example that Request 124, which
“seeks documents evidencing any lie or misrepresentation Singer made to McGlashan,” would
provide evidence “that McGlashan was misled regarding the nature of the agreement (or
agreements) he purportedly entered into and did not have the requisite intent for the charged
crimes.” Putting aside for the moment that we have already produced to you, as part of Rule 16
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        Notwithstanding the foregoing – and despite the fact that we do not believe any of the
information set forth below constitutes Brady material – we have re-reviewed the FBI 302
reports of witness interviews in light of your requests, and we make the following disclosures in
an abundance of caution:

   •   Aaron Fulk has advised the government, in sum and in substance, that Fulk spoke with
       Marin Academy’s USC admissions representative a few days before the March 12, 2019
       arrests in this case, and that the admissions representative told him that George
       McGlashan was on the “VIP list.” Fulk said that this information did not surprise him,
       and that it was clear to him that McGlashan had connections at certain schools and was
       working those connections.

   •   Rebecca Gustin has advised the government, in sum and in substance, that George
       McGlashan was very smart, and that an ACT score of 34 was not “crazy,” although
       George’s grades were only “ok.”

   •   Augustina Huneeus has advised the government, in sum and in substance, that William
       McGlashan and his wife were not stressed about school.

   •   Luke Rickford has advised the government, in sum and in substance, that as far as he
       knew the McGlashans were not involved in the cheating scheme and that he viewed the
       family as “above board.” Rickford said that George McGlashan was a good student, and
       that Rickford would be somewhat surprised, but not shocked, if George received a 34 on
       his ACT exam because George’s scores on practice exams were in the mid to upper 20s.

   •   Mark Riddell has advised the government, in sum and in substance, Riddell generally
       allowed students whose exams he proctored to use their cell phones to advise their
       parents prior to beginning the final examination section that they were about to start the
       final section.

   •   Rick Singer has advised the government, in sum and in substance, that William
       McGlashan knew that someone else would be taking the ACT for George McGlashan and
       getting a good score, but that William McGlashan did not want the full details of how the
       cheating scheme would work. Singer said that George McGlashan has a learning
       difference and would have received a score around 1200 on the SAT had he taken the test
       on his own. Singer also said that George McGlashan did not know that someone was

discovery, all documents within our possession that were exchanged between McGlashan and
Singer, your contention that evidence of “any lie or misrepresentation” by Singer about any
subject would prove that McGlashan was misled about the conspiracy and did not have criminal
intent is obviously untrue. Indeed, this example illustrates your failure to demonstrate the
relevance and materiality of your requests, as well as their overbreadth and speculative nature.
Similarly, you suggest that Request 96, which seeks “any documents showing that McGlashan
had reason to believe that a potential donation to USC would be valuable for the school,” would
provide evidence that McGlashan believed “a donation to USC would be legitimate.” But, of
course, that does not follow. A payment, styled as a donation, may be valuable to its recipient,
even as it is also a bribe to the person who demanded it as a quid pro quo.
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       taking the ACT exam for him, and that he also did not know about the “deal” to recruit
       him as a purported kicker in exchange for a payment of $250,000.

   •   Paul Wachter has advised the government, in sum and in substance, that if George
       McGlashan was accepted to the Iovine and Young Academy (IYA) at USC, Wachter
       would hope that William McGlashan would then make a donation to that school.
       Wachter said he was shocked that William McGlashan was involved in the college
       admissions case.

       We are aware of the continuing nature of our discovery obligations, and we will continue
to make additional disclosures as required. We reiterate our request for reciprocal Rule 16
discovery.

                                                   Sincerely,

                                                   ANDREW E. LELLING
                                                   United States Attorney


                                              By: /s/ Kristen A. Kearney
                                                  ERIC S. ROSEN
                                                  JUSTIN D. O’CONNELL
                                                  KRISTEN A. KEARNEY
                                                  LESLIE A. WRIGHT
                                                  Assistant U.S. Attorneys




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